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                                                                                     FILED



             In the United States District Court
                                                                          John E. Triplett, Acting Clerk
                                                                           United States District Court

                                                                      By CAsbell at 12:02 pm, Sep 18, 2020



             for the Southern District of Georgia
                     Brunswick Division
COURTNEY WARD, as next friend
of J.E., a minor,

        Plaintiff,

v.                                               CV 218-013

MCINTOSH COUNTY SCHOOL
DISTRICT and BOBBY G.
ROBINSON,

        Defendants.

                                      ORDER

       Before   the    Court   is   the   parties’    joint   stipulation         of

dismissal, dkt. no. 65, wherein they notify the Court that they

wish    to   dismiss    all    claims     asserted   in   this   action     with

prejudice.      The stipulation complies with Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).           Accordingly, all claims asserted in

this action are DISMISSED with prejudice.             Each party shall bear

its own fees and costs.             The Clerk is DIRECTED to close this

case.


       SO ORDERED, this 18th day of September, 2020.




                                              HON. LISA GODBEY WOOD, JUDGE
                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF GEORGIA
